Case 2:22-cv-03846-PA-GJS Document 16-2 Filed 08/31/22 Page 1 of 14 Page ID #:260




                  Exhibit 2
Case 2:22-cv-03846-PA-GJS Document 16-2 Filed 08/31/22 Page 2 of 14 Page ID #:261
Case 2:22-cv-03846-PA-GJS Document 16-2 Filed 08/31/22 Page 3 of 14 Page ID #:262
Case 2:22-cv-03846-PA-GJS Document 16-2 Filed 08/31/22 Page 4 of 14 Page ID #:263
Case 2:22-cv-03846-PA-GJS Document 16-2 Filed 08/31/22 Page 5 of 14 Page ID #:264
Case 2:22-cv-03846-PA-GJS Document 16-2 Filed 08/31/22 Page 6 of 14 Page ID #:265
Case 2:22-cv-03846-PA-GJS Document 16-2 Filed 08/31/22 Page 7 of 14 Page ID #:266
Case 2:22-cv-03846-PA-GJS Document 16-2 Filed 08/31/22 Page 8 of 14 Page ID #:267
Case 2:22-cv-03846-PA-GJS Document 16-2 Filed 08/31/22 Page 9 of 14 Page ID #:268
Case 2:22-cv-03846-PA-GJS Document 16-2 Filed 08/31/22 Page 10 of 14 Page ID #:269
Case 2:22-cv-03846-PA-GJS Document 16-2 Filed 08/31/22 Page 11 of 14 Page ID #:270
Case 2:22-cv-03846-PA-GJS Document 16-2 Filed 08/31/22 Page 12 of 14 Page ID #:271
Case 2:22-cv-03846-PA-GJS Document 16-2 Filed 08/31/22 Page 13 of 14 Page ID #:272
Case 2:22-cv-03846-PA-GJS Document 16-2 Filed 08/31/22 Page 14 of 14 Page ID #:273
